                                  Case 8:23-bk-03974                 Doc 1        Filed 09/11/23           Page 1 of 39


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                FLORIDA'S BEST ALUMINUM, INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5316 Lena Rd Suite 114                                          5316 Lena Rd Suite 114
                                  Bradenton, FL 34211                                             Bradenton, FL 34211
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Manatee                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  5316 Lena Rd Suite 114 Bradenton, FL 34211
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    FLORIDA'S BEST ALUMINUM, INC.                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2238

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 8:23-bk-03974                      Doc 1       Filed 09/11/23              Page 3 of 39
Debtor    FLORIDA'S BEST ALUMINUM, INC.                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                         Case 8:23-bk-03974              Doc 1       Filed 09/11/23          Page 4 of 39
Debtor   FLORIDA'S BEST ALUMINUM, INC.                                            Case number (if known)
         Name

                           $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                  Case 8:23-bk-03974                  Doc 1        Filed 09/11/23             Page 5 of 39
Debtor    FLORIDA'S BEST ALUMINUM, INC.                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 11, 2023
                                                  MM / DD / YYYY


                             X /s/ Daniel C. Wilson                                                       Daniel C. Wilson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Christopher D. Smith                                                    Date September 11, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Christopher D. Smith 605433
                                 Printed name

                                 Christopher D. Smith P.A.
                                 Firm name

                                 1561 Lakefront Dr Unit 204
                                 Sarasota, FL 34240
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address


                                 605433 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         FLORIDA'S BEST ALUMINUM, INC.

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 11, 2023              X /s/ Daniel C. Wilson
                                                           Signature of individual signing on behalf of debtor

                                                            Daniel C. Wilson
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                            Case 8:23-bk-03974                                   Doc 1               Filed 09/11/23                        Page 7 of 39

 Fill in this information to identify the case:

 Debtor name            FLORIDA'S BEST ALUMINUM, INC.

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            26,935.77

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            26,935.77


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           647,948.85


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            64,910.45


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             712,859.30




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                                Case 8:23-bk-03974                Doc 1        Filed 09/11/23              Page 8 of 39

Fill in this information to identify the case:

Debtor name         FLORIDA'S BEST ALUMINUM, INC.

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Chase Bank (-798.79)                              Business Checking                     5280                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Secuity Deposit of $2,770 plus last months rent of $3,228.06 for the business property.                                          $6,050.56



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                                      $6,050.56
          Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
                               Case 8:23-bk-03974                Doc 1    Filed 09/11/23         Page 9 of 39

Debtor       FLORIDA'S BEST ALUMINUM, INC.                                          Case number (If known)
             Name



Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last        Net book value of      Valuation method used    Current value of
                                            physical inventory      debtor's interest      for current value        debtor's interest
                                                                    (Where available)

19.       Raw materials
          raw materials for pool
          cages                                                              Unknown       Liquidation                         $1,000.00



20.       Work in progress
          Neal Loth - finished
          permitting, enginerring
          and started work but did
          not finish at time of
          petition
          38 Riverfront Dr, Venice
          FL 34293                                                           Unknown                                           Unknown


          Ritzcraft - completed
          initial concept designs
          but did not finish project
          as of petition date
          1920 Northgate Blvd,
          Sarasota FL 34234                                                  Unknown       N/A                                 Unknown



21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                  $1,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                 page 2
                               Case 8:23-bk-03974                 Doc 1        Filed 09/11/23          Page 10 of 39

Debtor       FLORIDA'S BEST ALUMINUM, INC.                                                  Case number (If known)
             Name


             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          minimal office supplies, 5 desks                                           Unknown        Liquidation                          $500.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          3 desktop computers and printer/fax                                        Unknown        Liquidation                          $500.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $1,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
                               Case 8:23-bk-03974                 Doc 1     Filed 09/11/23            Page 11 of 39

Debtor        FLORIDA'S BEST ALUMINUM, INC.                                             Case number (If known)
              Name

           47.1.    2013 Chevrolet Silverado with 135,000
                    miles in fair condition                                      Unknown        Liquidation                        $4,500.00


           47.2.    2013 Ford F-150 with 125,000 miles in
                    fair condition                                               Unknown        Liquidation                        $5,500.00


           47.3.    Small converted RV trailer used used to
                    move materials                                               Unknown        Liquidation                        $1,000.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           miscellaneous hand tools and ladders                                  Unknown        Liquidation                          $500.00



51.        Total of Part 8.                                                                                                   $11,500.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
                                                                      debtor's interest         for current value       debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.floridasbestalluminum.com                                         Unknown        N/A                                Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 4
                               Case 8:23-bk-03974                Doc 1        Filed 09/11/23             Page 12 of 39

Debtor        FLORIDA'S BEST ALUMINUM, INC.                                                Case number (If known)
              Name

           customer list of past jobs                                              Unknown         N/A                                Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Possible litigation against Duwet Inc. (a/k/a Duwet
           Pools) for breach of contract (not yet filed)                                                                              Unknown
           Nature of claim          breach of contract
           Amount requested                               $0.00



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Lien against Richard Ratner and Caroline Ratner for
           unpaid work
           677 Trenton Way Osprey FL 34229                                                                                            $7,385.21



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
                             Case 8:23-bk-03974                Doc 1    Filed 09/11/23          Page 13 of 39

Debtor      FLORIDA'S BEST ALUMINUM, INC.                                           Case number (If known)
            Name


78.      Total of Part 11.                                                                                      $7,385.21
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                  page 6
                                      Case 8:23-bk-03974                           Doc 1            Filed 09/11/23                  Page 14 of 39

Debtor          FLORIDA'S BEST ALUMINUM, INC.                                                                       Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $6,050.56

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $1,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $11,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                    $7,385.21

91. Total. Add lines 80 through 90 for each column                                                              $26,935.77          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $26,935.77




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 7
                                     Case 8:23-bk-03974                   Doc 1          Filed 09/11/23          Page 15 of 39

Fill in this information to identify the case:

Debtor name         FLORIDA'S BEST ALUMINUM, INC.

United States Bankruptcy Court for the:           MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1   Huntington National Bank                     Describe debtor's property that is subject to a lien                  $147,948.85                  $4,500.00
      Creditor's Name                              2013 Chevrolet Silverado with 135,000 miles
      Attention: Bankruptcy                        in fair condition
      2361 Morse Road
      Columbus, OH 43229
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      8/3/18                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9639
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Huntington National Bank                     Describe debtor's property that is subject to a lien                      Unknown                  $5,500.00
      Creditor's Name                              2013 Ford F-150 with 125,000 miles in fair
      5555 Cleveland Ave                           condition
      GW1W37
      Columbus, OH 43231
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
                                      Case 8:23-bk-03974                  Doc 1          Filed 09/11/23          Page 16 of 39

Debtor       FLORIDA'S BEST ALUMINUM, INC.                                                         Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.3    Huntington National Bank                    Describe debtor's property that is subject to a lien                       Unknown                $1,000.00
       Creditor's Name                             Small converted RV trailer used used to move
       5555 Cleveland Ave                          materials
       GW1W37
       Columbus, OH 43231
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.4    Small Business Admin                        Describe debtor's property that is subject to a lien                     $500,000.00              Unknown
       Creditor's Name                             all tangible and intangible property
       2 North 20th St STE 320
       Birmingham, AL 35203
       Creditor's mailing address                  Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       12/9/20                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8202
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $647,948.85

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
                         Case 8:23-bk-03974            Doc 1      Filed 09/11/23           Page 17 of 39

Debtor    FLORIDA'S BEST ALUMINUM, INC.                                     Case number (if known)
          Name

      Name and address                                                              On which line in Part 1 did       Last 4 digits of
                                                                                    you enter the related creditor?   account number for
                                                                                                                      this entity
      Huntington National Bank
      5555 Cleveland Ave GW1W37                                                     Line   2.1
      Columbus, OH 43231

      SBA
      409 3rd St SW                                                                 Line   2.4
      Washington, DC 20416




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 3
                                 Case 8:23-bk-03974                      Doc 1         Filed 09/11/23                  Page 18 of 39

Fill in this information to identify the case:

Debtor name        FLORIDA'S BEST ALUMINUM, INC.

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Alec Suph and Maria Gomez                                            Contingent
          5116 Tannin Ln
                                                                               Unliquidated
          Bradenton, FL 34211
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                   Basis for the claim: Business debt

                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $14,000.00
          Aluminum Distribution inc                                            Contingent
          6208 28th St                                                         Unliquidated
          Bradenton, FL 34203                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Business debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Corey and Ashley Schmitt                                             Contingent
          12237 Longview Lake Cir
                                                                               Unliquidated
          Bradenton, FL 34211
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                   Basis for the claim: Business debt

                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Daniel and Bernadette Kelly                                          Contingent
          10327 Coastal Shores Dr
                                                                               Unliquidated
          Parrish, FL 34219
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                   Basis for the claim: Business debt

                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 6
                                                                                                          32963
                              Case 8:23-bk-03974                Doc 1         Filed 09/11/23                  Page 19 of 39

Debtor      FLORIDA'S BEST ALUMINUM, INC.                                                   Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         David and Sheryl Katz                                        Contingent
         1808 Twin River Trl
                                                                      Unliquidated
         Parrish, FL 34219
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,119.00
         Dell Financial Services                                      Contingent
         PO Box 6403                                                  Unliquidated
         Carol Stream, IL 60197-6403                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: revolving debt for business use
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         DuWet Pools & Spas                                           Contingent
         3251 81st Ct E
                                                                      Unliquidated
         Bradenton, FL 34211
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Elliot and Nicole Johnson                                    Contingent
         3131 49th St E
                                                                      Unliquidated
         Palmetto, FL 34221
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $0.00
         Eric Rose                                                    Contingent
         8688 Stone Harbour Loop                                      Unliquidated
         Bradenton, FL 34212                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Partner
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Fredrick and Carol Arnold                                    Contingent
         8752 Ocean Tides CV
                                                                      Unliquidated
         Parrish, FL 34219
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Heritage Insurance                                           Contingent
         Attn: Bankruptcy Department                                  Unliquidated
         905 25th Dr E                                                Disputed
         Ellenton, FL 34222
                                                                   Basis for the claim: Insurance for the business
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 6
                              Case 8:23-bk-03974                Doc 1         Filed 09/11/23                  Page 20 of 39

Debtor      FLORIDA'S BEST ALUMINUM, INC.                                                   Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Jason and Cami Bliss                                         Contingent
         5426 Morey Farms Loop
                                                                      Unliquidated
         Palmetto, FL 34221
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Jonny and Puyaporn Eser                                      Contingent
         3731 76th St E
                                                                      Unliquidated
         Palmetto, FL 34221
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Keith and Jeanette Scutti                                    Contingent
         5828 Arbor Wood Ct
                                                                      Unliquidated
         Bradenton, FL 34203
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $37,591.45
         Lansing Building Products                                    Contingent
         7810 25th Ct E                                               Unliquidated
         Unit 101                                                     Disputed
         Sarasota, FL 34243
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Matthew and Diane Della-Peru                                 Contingent
         9641 Carnoustie PL
                                                                      Unliquidated
         Bradenton, FL 34211
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         McKenize Homes LLC                                           Contingent
         14811 19th Cove E
                                                                      Unliquidated
         Parrish, FL 34219
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Michael & Elizabeth McNeese                                  Contingent
         3701 17th Ave W
                                                                      Unliquidated
         Bradenton, FL 34205
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 6
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Debtor      FLORIDA'S BEST ALUMINUM, INC.                                                   Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Neal Loth                                                    Contingent
         38 Riverfront Dr                                             Unliquidated
         Venice, FL 34293                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: unfinished project
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         NGM Insurance
         Attn: Banktruptcy Department                                 Contingent
         4601 Touchton Rd E                                           Unliquidated
         Ste 3400                                                     Disputed
         Jacksonville, FL 32246
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Patricia and Ralph Rhodes                                    Contingent
         12707 Wheatgrass Ct
                                                                      Unliquidated
         Parrish, FL 34219
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Pierce River                                                 Contingent
         Attn: Bankruptcy                                             Unliquidated
         PO Box 1310                                                  Disputed
         Wauchula, FL 33873
                                                                   Basis for the claim: Electric provider for business
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Raymond and Lisa Jenkins                                     Contingent
         8078 Redonda Loop
                                                                      Unliquidated
         Bradenton, FL 34202
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $6,000.00
         Ritzcraft Pools                                              Contingent
         1920 Northgate Blvd                                          Unliquidated
         Sarasota, FL 34234                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: subcontracter
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,000.00
         South Shore Rescreening                                      Contingent
         3946 Vana Dr                                                 Unliquidated
         Sarasota, FL 34241                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Subcontractor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 4 of 6
                              Case 8:23-bk-03974                Doc 1         Filed 09/11/23                  Page 22 of 39

Debtor      FLORIDA'S BEST ALUMINUM, INC.                                                   Case number (if known)
            Name

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Spectrum Business                                            Contingent
         Attn: Bankrupcty Department                                  Unliquidated
         PO Box 790450                                                Disputed
         Saint Louis, MO 63179-0450
                                                                   Basis for the claim: Internet for the business
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         SR70 Commerce Park LLC                                       Contingent
         70 Adams Pl                                                  Unliquidated
         Glen Ridge, NJ 07028                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: business lease
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Tamatha and Katherine Becker                                 Contingent
         7716 22nd Ave W
                                                                      Unliquidated
         Bradenton, FL 34209
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Business debt

                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $300.00
         Truist Bank                                                  Contingent
         Attn: Bankruptcy Department                                  Unliquidated
         PO Box 849                                                   Disputed
         Wilson, NC 27894
                                                                   Basis for the claim: banking liability
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $900.00
         Unique Technologies                                          Contingent
         1523 Edgar PL                                                Unliquidated
         Sarasota, FL 34240                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: unused materials
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Waterboy                                                     Contingent
         4454 19th St Ct                                              Unliquidated
         Bradenton, FL 34203                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Wesley and Jaquelyn Baugh                                    Contingent
         3907 78th Dr E
                                                                      Unliquidated
         Sarasota, FL 34243
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Businesss debt

                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 5 of 6
                                 Case 8:23-bk-03974                     Doc 1         Filed 09/11/23                    Page 23 of 39

Debtor       FLORIDA'S BEST ALUMINUM, INC.                                                          Case number (if known)
             Name

3.33      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  Unknown
          William and Karin Appel                                              Contingent
          10323 Coastal Shores Dr
                                                                               Unliquidated
          Parrish, FL 34219
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim: Business debt

                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                    related creditor (if any) listed?                  account number, if
                                                                                                                                                       any
4.1       Camelthorn LLC
          70 Adams PL                                                                               Line     3.27
          Glen Ridge, NJ 07028
                                                                                                           Not listed. Explain

4.2       Chien-Li Chung
          8309 47TH STREET CIR E                                                                    Line     3.27
          Palmetto, FL 34221
                                                                                                           Not listed. Explain

4.3       Leviton Law Firm
          1 Pierce Pl                                                                               Line     3.2
          Ste 725W
                                                                                                           Not listed. Explain
          Itasca, IL 60143


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                            0.00
5b. Total claims from Part 2                                                                           5b.    +     $                       64,910.45

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                            64,910.45




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 6 of 6
                              Case 8:23-bk-03974                  Doc 1        Filed 09/11/23             Page 24 of 39

Fill in this information to identify the case:

Debtor name       FLORIDA'S BEST ALUMINUM, INC.

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease for business
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    SR70 Commerce Park LLC
           List the contract number of any                                          70 Adams Pl
                 government contract                                                Glen Ridge, NJ 07028




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                             Case 8:23-bk-03974                Doc 1        Filed 09/11/23            Page 25 of 39

Fill in this information to identify the case:

Debtor name      FLORIDA'S BEST ALUMINUM, INC.

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Daniel Wilson               561 Whitehead St                                          Huntington National                D   2.1
                                      Bradenton, FL 34203                                       Bank                               E/F
                                                                                                                                   G




   2.2    Daniel Wilson               561 Whitehead St                                          Small Business                     D   2.4
                                      Bradenton, FL 34203                                       Admin                              E/F
                                                                                                                                   G




   2.3    Daniel Wilson               561 Whitehead St                                          SR70 Commerce                      D
                                      Bradenton, FL 34203                                       Park LLC                           E/F       3.27
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         FLORIDA'S BEST ALUMINUM, INC.

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                              $-245,965.38
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                              $-352,591.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                                $-77,346.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
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Debtor      FLORIDA'S BEST ALUMINUM, INC.                                                       Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




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Debtor        FLORIDA'S BEST ALUMINUM, INC.                                                       Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Christopher D. Smith, Esq
               1561 Lakefront Drive
               Suite 204
               Sarasota, FL 34240                        attorney fee and filing fee $3338                             8/16/23                    $3,338.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To
      14.1.    1110 Pine Island Rd                                                                                 2018- July 2020
               Unti 19
               Cape Coral


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Debtor        FLORIDA'S BEST ALUMINUM, INC.                                                      Case number (if known)



                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.2.     5316 Lena Rd                                                                                        Jan 2020 - Present

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Name and Address only
                 Does the debtor have a privacy policy about that information?
                    No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred
      18.1.     Truist Bank                            XXXX-                          Checking                 July 2022                         Unknown
                11255 STATE ROAD 70 E                                                 Savings
                Bradenton, FL 34202
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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Debtor      FLORIDA'S BEST ALUMINUM, INC.                                                        Case number (if known)




         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

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Debtor      FLORIDA'S BEST ALUMINUM, INC.                                                       Case number (if known)



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Anthony Scarpa
                    859 Jeffery Street
                    Unit 115
                    Boca Raton, FL 33487

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Anthony Scarpa
                    859 Jeffery Street
                    Unit 115
                    Boca Raton, FL 33487

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Daniel Wilson                           561 Whitehead St                                    President                                     50
                                              Bradenton, FL 34203


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Debtor      FLORIDA'S BEST ALUMINUM, INC.                                                      Case number (if known)



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Eric Rose                              8688 Stone Harbour Loop                             VP                                      50
                                             Bradenton, FL 34212



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Daniel Wilson                                                                                                            compensation for
      .    561 Whitehead St                           $16,000 in compensation (approximately                                        operating
             Bradenton, FL 34203                      $1,500 per month)                                         monthly             business

             Relationship to debtor
             officer


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
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Debtor      FLORIDA'S BEST ALUMINUM, INC.                                                       Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 11, 2023

/s/ Daniel C. Wilson                                            Daniel C. Wilson
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
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                                               United States Bankruptcy Court
                                                       Middle District of Florida
 In re   FLORIDA'S BEST ALUMINUM, INC.                                                            Case No.
                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     September 11, 2023                             /s/ Daniel C. Wilson
                                                         Daniel C. Wilson/President
                                                         Signer/Title
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FLORIDA'S BEST ALUMINUM, INC.         David and Sheryl Katz                Jason and Cami Bliss
5316 Lena Rd Suite 114                1808 Twin River Trl                  5426 Morey Farms Loop
Bradenton, FL 34211                   Parrish, FL 34219                    Palmetto, FL 34221




Christopher D. Smith                  Dell Financial Services              Jonny and Puyaporn Eser
Christopher D. Smith P.A.             PO Box 6403                          3731 76th St E
1561 Lakefront Dr Unit 204            Carol Stream, IL 60197-6403          Palmetto, FL 34221
Sarasota, FL 34240



Alec Suph and Maria Gomez             DuWet Pools & Spas                   Keith and Jeanette Scutti
5116 Tannin Ln                        3251 81st Ct E                       5828 Arbor Wood Ct
Bradenton, FL 34211                   Bradenton, FL 34211                  Bradenton, FL 34203




Aluminum Distribution inc             Elliot and Nicole Johnson            Lansing Building Products
6208 28th St                          3131 49th St E                       7810 25th Ct E
Bradenton, FL 34203                   Palmetto, FL 34221                   Unit 101
                                                                           Sarasota, FL 34243



Camelthorn LLC                        Eric Rose                            Leviton Law Firm
70 Adams PL                           8688 Stone Harbour Loop              1 Pierce Pl
Glen Ridge, NJ 07028                  Bradenton, FL 34212                  Ste 725W
                                                                           Itasca, IL 60143



Chien-Li Chung                        Fredrick and Carol Arnold            Matthew and Diane Della-Peru
8309 47TH STREET CIR E                8752 Ocean Tides CV                  9641 Carnoustie PL
Palmetto, FL 34221                    Parrish, FL 34219                    Bradenton, FL 34211




Corey and Ashley Schmitt              Heritage Insurance                   McKenize Homes LLC
12237 Longview Lake Cir               Attn: Bankruptcy Department          14811 19th Cove E
Bradenton, FL 34211                   905 25th Dr E                        Parrish, FL 34219
                                      Ellenton, FL 34222



Daniel and Bernadette Kelly           Huntington National Bank             Michael & Elizabeth McNeese
10327 Coastal Shores Dr               Attention: Bankruptcy                3701 17th Ave W
Parrish, FL 34219                     2361 Morse Road                      Bradenton, FL 34205
                                      Columbus, OH 43229



Daniel Wilson                         Huntington National Bank             Neal Loth
561 Whitehead St                      5555 Cleveland Ave GW1W37            38 Riverfront Dr
Bradenton, FL 34203                   Columbus, OH 43231                   Venice, FL 34293
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NGM Insurance                         SR70 Commerce Park LLC
Attn: Banktruptcy Department          70 Adams Pl
4601 Touchton Rd E                    Glen Ridge, NJ 07028
Ste 3400
Jacksonville, FL 32246

Patricia and Ralph Rhodes             Tamatha and Katherine Becker
12707 Wheatgrass Ct                   7716 22nd Ave W
Parrish, FL 34219                     Bradenton, FL 34209




Pierce River                          Truist Bank
Attn: Bankruptcy                      Attn: Bankruptcy Department
PO Box 1310                           PO Box 849
Wauchula, FL 33873                    Wilson, NC 27894



Raymond and Lisa Jenkins              Unique Technologies
8078 Redonda Loop                     1523 Edgar PL
Bradenton, FL 34202                   Sarasota, FL 34240




Ritzcraft Pools                       Waterboy
1920 Northgate Blvd                   4454 19th St Ct
Sarasota, FL 34234                    Bradenton, FL 34203




SBA                                   Wesley and Jaquelyn Baugh
409 3rd St SW                         3907 78th Dr E
Washington, DC 20416                  Sarasota, FL 34243




Small Business Admin                  William and Karin Appel
2 North 20th St STE 320               10323 Coastal Shores Dr
Birmingham, AL 35203                  Parrish, FL 34219




South Shore Rescreening
3946 Vana Dr
Sarasota, FL 34241




Spectrum Business
Attn: Bankrupcty Department
PO Box 790450
Saint Louis, MO 63179-0450
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                                                        United States Bankruptcy Court
                                                               Middle District of Florida
 In re       FLORIDA'S BEST ALUMINUM, INC.                                                                    Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,000.00
             Prior to the filing of this statement I have received                                        $                     3,000.00
             Balance Due                                                                                  $                         0.00

2.   $      338.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods. A filing fee in the amount of $338.00 is also paid through
             SmithLaw but not retained by the law firm as a fee.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, lien strip motions, judicial lien avoidances, relief
             from stay actions or any other adversary proceeding.
                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 11, 2023                                                       /s/ Christopher D. Smith
     Date                                                                     Christopher D. Smith 605433
                                                                              Signature of Attorney
                                                                              Christopher D. Smith P.A.
                                                                              1561 Lakefront Dr Unit 204
                                                                              Sarasota, FL 34240

                                                                              Name of law firm
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                                          United States Bankruptcy Court
                                                 Middle District of Florida
 In re   FLORIDA'S BEST ALUMINUM, INC.                                                 Case No.
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for FLORIDA'S BEST ALUMINUM, INC. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 11, 2023                               /s/ Christopher D. Smith
Date                                             Christopher D. Smith 605433
                                                 Signature of Attorney or Litigant
                                                 Counsel for FLORIDA'S BEST ALUMINUM, INC.
                                                 Christopher D. Smith P.A.
                                                 1561 Lakefront Dr Unit 204
                                                 Sarasota, FL 34240
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